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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )           8:07CR30
                                                 )
       vs.                                       )             ORDER
                                                 )
THIRUGNANAM RAMANATHAN,                          )
                                                 )
                     Defendant.                  )
       This matter is before the court on the motion of the government to extend the time
in which to complete discovery and for a Rule 17.1 conference (Filing No. 40). For good
cause shown, the motion will be granted.
       IT IS ORDERED:
       1.     The motion to extend (Filing No. 40) is granted as set forth herein.
       2.     Discovery shall be completed on or before July 16, 2007. The ends of
justice have been served by granting such motion and outweigh the interests of the public
and the defendant in a speedy trial. The additional time arising as a result of the granting
of the motion, i.e., the time between June 26, 2007 and July 16, 2007, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that due to the difficulty in obtaining documents from a foreign country, the
analyses required of documents already acquired, additional time is required to adequately
prepare the case, taking into consideration due diligence of counsel and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       3.     A conference pursuant to Fed. R. Crim. P. 17.1 will be held in this case in
Courtroom No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, at 10:00 a.m. on July 17, 2007. All counsel are required to attend with
counsels’ calendars and be prepared to schedule all events in this case on counsels’
calendars. Since this will be a scheduling conference, defendant is not required to be
present.
       DATED this 26th day of July, 2007.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
